     Case 2:11-cr-00414-APG-CWH            Document 56        Filed 02/03/12      Page 1 of 5




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 6                               UNITED STATES DISTRICT COURT

 7                                       DISTRICT OF NEVADA

 8 UNITED STATES OF AMERICA,                           )
                                                       )
 9                         Plaintiff,                  )
                                                       )
10           v.                                        )           2:11-CR-414-PMP (RJJ)
                                                       )
11 JOSE CARDENAS,                                      )
                           Defendant.                  )
12                                                     )

13
                             PRELIMINARY ORDER OF FORFEITURE
14

15           This Court finds that on February 1, 2012, defendant JOSE CARDENAS pled guilty to Count

16 One of a Two-Count Criminal Indictment charging him with Conspiracy to Possess a Controlled

17 Substance with Intent to Distribute, in violation of Title 21, United States Code, Section 846 and

18 841(a)(1). Docket #22, #50.

19           This Court finds defendant JOSE CARDENAS agreed to the forfeiture of the property set

20 forth in Forfeiture Allegations of the Criminal Indictment and in the Plea Memorandum. #22, #50.

21           This Court finds, pursuant to Fed. R. Crim. P. 32.2(b)(1) and (2), the United States of

22 America has shown the requisite nexus between property set forth in the Forfeiture Allegations of the

23 Criminal Indictment and the Plea Memorandum and the offense to which defendant JOSE CARDENAS

24 pled guilty.

25           The following assets are subject to forfeiture pursuant to Title 21, United States Code, Section

26 853(a)(1) and 853(a)(2); Title 18, United States Code, Section 924(d)(1), (2)(C) and (3)(B) and Title
     Case 2:11-cr-00414-APG-CWH            Document 56        Filed 02/03/12      Page 2 of 5




 1 28, United States Code, Section 2461(c); and Title, 21, United States Code, Section 881(a)(11) and

 2 Title 28, United States Code, Section 2461(c).

 3                          a.      a Smith & Wesson model 659, .9mm semiautomatic pistol, serial

 4                          number TBL8273;

 5                          b.      any and all ammunition; and

 6                          c.      $640.00 in United States Currency (“property”).

 7            This Court finds the United States of America is now entitled to, and should, reduce the

 8 aforementioned property to the possession of the United States of America.

 9            NOW THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the

10 United States of America should seize the aforementioned property.

11            IT IS FURTHER ORDERED, ADJUDGED, AND DECREED all right, title, and interest of

12 JOSE CARDENAS in the aforementioned property is forfeited and is vested in the United States of

13 America and shall be safely held by the United States of America until further order of the Court.

14            IT IS FURTHER ORDERED, ADJUDGED, AND DECREED the United States of America

15 shall publish for at least thirty (30) consecutive days on the official internet government forfeiture

16 website, www.forfeiture.gov, notice of this Order, which shall describe the forfeited property, state the

17 time under the applicable statute when a petition contesting the forfeiture must be filed, and state the

18 name and contact information for the government attorney to be served with the petition, pursuant to

19 Fed. R. Crim. P. 32.2(b)(6) and Title 21, United States Code, Section 853(n)(2).

20            IT IS FURTHER ORDERED, ADJUDGED, AND DECREED a petition, if any, must be filed

21 with the Clerk of the Court, 333 Las Vegas Boulevard South, Las Vegas, Nevada 89101.

22            IT IS FURTHER ORDERED, ADJUDGED, AND DECREED a copy of the petition, if any,

23 shall be served upon the Asset Forfeiture Attorney of the United States Attorney’s Office at the

24 following address at the time of filing:

25                   MICHAEL A. HUMPHREYS
                     Assistant United States Attorney
26                   DANIEL D. HOLLINGSWORTH

                                                       2
     Case 2:11-cr-00414-APG-CWH          Document 56        Filed 02/03/12     Page 3 of 5




 1                  Assistant United States Attorney
                    Nevada State Bar No. 1925
 2                  Lloyd D. George United States Courthouse
                    333 Las Vegas Boulevard South, Suite 5000
 3                  Las Vegas, Nevada 89101

 4             IT IS FURTHER ORDERED, ADJUDGED, AND DECREED the notice described herein

 5 need not be published in the event a Declaration of Forfeiture is issued by the appropriate agency

 6 following publication of notice of seizure and intent to administratively forfeit the above-described

 7 property.

 8                          3rd day
               DATED this ______ dayofofFebruary, 2012.
                                         __________________, 2012.

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11                                                UNITED STATES DISTRICT JUDGE

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     Case 2:11-cr-00414-APG-CWH          Document 56       Filed 02/03/12   Page 4 of 5




 1                                       PROOF OF SERVICE

 2           I, Elizabeth Baechler-Warren, Forfeiture Support Associate Paralegal, certify that the

 3 following individuals were served with a copy of the foregoing Preliminary Order of Forfeiture on

 4 February 3, 2012, by the below identified method of service:

 5           CM/ECF:

 6           Frank H Cofer , III
             Frank H. Cofer III, LLC
 7           330 E Charleston Blvd Suite 204
             Las Vegas, NV 89104
 8           Email: fcofer@gmail.com
             Counsel for Defendant Juan Cardenas
 9

10           Paul Riddle
             Federal Public Defender
11           411 E. Bonneville Suite 250
             Las Vegas, NV 89101
12           Email: ECF_Vegas@FD.ORG
             Counsel for Defendant Juan Cardenas
13
             Rachel M. Korenblat
14           Federal Public Defender
             411 E. Bonneville Ave Suite 250
15           Las Vegas, NV 89101
             Email: rachel_korenblat@fd.org
16           Counsel for Defendant Juan Cardenas
17
             Benjamin C Durham
18           330 E. Charleston Blvd. Suite 204
             Las Vegas, NV 89104
19           Email: bdurham@benjamindurham.com
20           Counsel for Defendant Jose Cardenas

21           Garrett T Ogata
             Law Offices of Garrett T Ogata
22           3841 W Charleston Blvd
             Las Vegas, NV 89102
23           Email: admin@gtogata.com
             Counsel for Defendant Javier Pichardo-Lopez
24

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     Case 2:11-cr-00414-APG-CWH       Document 56         Filed 02/03/12   Page 5 of 5




 1          Mace J Yampolsky
            Mace Yampolsky, LTD
 2          625 S. Sixth St.
            Las Vegas, NV 89101
 3          Email: Mace@macelaw.com
            Counsel for Defendant Javier Pichardo-Lopez
 4

 5
                                              /s/ Elizabeth Baechler-Warren
 6                                            Elizabeth Baechler-Warren
 7                                            Forfeiture Support Associate Paralegal

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